     Entered on Docket May. 06, 2009
                                                                                           Judge: Philip H. Brandt
                                                                                           Chapter: 13

                                   IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 1
       In Re:                                                         IN CHAPTER 13 PROCEEDING
                                                                      NO. 08-10108
 2     CURTIS R HARRIS AND
       BILLIE J HARRIS                                                ORDER CONFIRMING
 3                                                                    CHAPTER 13 PLAN
                                             Debtors.
 4
       This Matter having come on for hearing this date before the undersigned bankruptcy Judge, and the Court
 5     having heard the arguments, if any, for and against confirmation of the plan proposed herein, and having heard the
       Trustee's recommendations concerning the plan, the Court does therefore hereby ORDER:
 6
       1. That subject to the terms of this order, the plan proposed by the debtors dated 02-03-09 is hereby confirmed;
 7
       2. That original attorney fees are set in the amount of $6,443.32;
 8
       3. That the debtors shall incur no additional debt except after obtaining prior Court permission;
 9
       4. That the debtors shall inform the Trustee of any change in circumstances, or receipt of additional income, and
10     shall further comply with any requests of the Trustee with respect to additional financial information the Trustee
       may require;
11
       5. That the Trustee shall charge such percentage fee as may periodically be fixed by the Attorney General
12     pursuant to 28 U.S.C. section 586(e);

13     6. That during the pendency of the plan hereby confirmed, all property of the estate, as defined by 11 U.S.C.
       section 1306(a), shall remain vested in the debtors, under the exclusive jurisdiction of the Court, and further, that
14     the debtors shall not, without specific approval of the Court, lease, sell, transfer, encumber or otherwise dispose
       of such property;
15
       7. That all disposable income received by the debtors beginning on the date the first payment is due under the
16     plan shall be applied as payments under the plan pursuant to 11 U.S.C. section 1325(b)(1)(B), unless the Court
       orders otherwise.
17                       May 5, 2009
                Dated:
18
                                                                               Philip H. Brandt, Judge

19     Presented by:
       /s/ K. Michael Fitzgerald
20     K. Michael Fitzgerald,
       WSBA #8115
       Chapter 13 Trustee
21                                                                                         Chapter 13 Bankruptcy Trustee
                                                                                              600 University St. #2200
                                                                                                 Seattle,WA 98101
       ORDER CONFIRMING CHAPTER 13 PLAN
                                                                                        (206) 624-5124 Fax: (206) 624-5282
       Case 08-10108-TWD              Doc 103       Filed 05/05/09          Ent. 05/06/09 10:21:57         Pg. 1 of 1
